                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Giraud Howard Hope,           )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:20-cv-00308-RJC-DSC
                                      )
                  vs.                 )
                                      )
         References-etc. Inc.,        )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 6, 2021 Text-Only Order.

                                               December 6, 2021




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